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                     UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                      Case No. 11-cr-156-PB


Alyssa Phillips, et al.

                               O R D E R


     Defendant Alyssa Phillips has moved through counsel to

continue the June 5, 2012 trial in the above case, citing the

need for additional time to finalize plea negotiations.             The

government and co-defendant do not object to a continuance of

the trial date.

     Accordingly, in order to allow the parties additional time

to properly prepare for trial, the court will continue the trial

from June 5, 2012 to July 10, 2012. In agreeing to continue the

trial, the court finds pursuant to 18 U.S.C.A. ' 3161(h)(7)(A)

that for the above-stated reasons, the ends of justice served in

granting a continuance outweigh the best interests of the public

and the defendants in a speedy trial.
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      The May 22, 2012 final pretrial conference is continued to

June 18, 2012 at 2:00 p.m.      No further continuances.

      SO ORDERED.



                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge
May 16, 2012

cc:   Robert S. Carey, Esq.
      Matthew Lahey, Esq.
      Jennifer Davis, AUSA
      United States Marshal
      United States Probation




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